Exhibit E


                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        WESTERN DIVISION
                                       Consolidated Civil Action



        RALEIGH WAKE CITIZENS             )
        ASSOCIATION, et al.,              )
                                          )
                              Plaintiffs, )
                                          )
                   v.                     )                          No. 5:15-CV-156-D
                                          )
        WAKE COUNTY BOARD OF ELECTIONS, )
                                          )
                              Defendant.  )


        CALLA WRIGHT, et al.,                            )
                                                         )
                                          Plaintiffs,    )
                                                         )
                            v.                           )           No. 5:13-CV-607-D
                                                         )
        STATE OF NORTH CAROLINA,                         )
                                                         )
                                          Defendant.     )


                                                        ORDER

               Absent another order from the United States Court of Appeals for the Fourth Circuit, the

        mandate will not issue until August 2, 2016. See Fed. R. App. P. 41 (b). When the mandate issues,

        this court will have jurisdiction. The court will hold a status conference concerning the remedy on

        Tuesday, August 2, 2016, at 4:00p.m. in Courtroom One of the Terry Sanford Federal Building and

        United States Courthouse, Raleigh, North Carolina. Counsel for the parties shall be present. The

        court also requests that counsel for the North Carolina State Board of Elections and counsel for the

        legislative leaders be present.




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       At the status conference, the court intends to discuss the submissions of July 18, 2016, and

a proposed schedule concerning the remedy. See [D.E. 81, 82, 83, 84]. The court would like to

know (among other things) when the North Carolina State Board ofE1ections will be able to submit

a proposed remedial plan (see [D.E. 81]) and when the legislative leaders will be able to submit the

illustrative maps referenced in their submission.      See [D.E. 84] 8.    Furthermore, the court

understands from plaintiffs that they want the court to adopt as court-ordered remedial plans the

plans that were in effect in 2011. See [D.E. 82] 2.

       The court DIRECTS the clerk of court to serve this order upon the office of the North

Carolina Attorney General and DIRECTS that office to ensure proper service on counsel for the

North Carolina State Board of Elections and counsel for the legislative leaders.

       SO ORDERED. This 2.1 day of July 2016.




                                                 2

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